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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                              September 22, 2022
                         UNITED STATES DISTRICT COURT
                                                                               Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


ALAN NELSON CROTTS,                           §
                                              §
        Plaintiff,                            §
                                              §
VS.                                           §   CIVIL ACTION NO. 4:22-CV-01447
                                              §
FREEDOM MORTGAGE                              §
CORPORATION,                                  §
                                              §
        Defendant.                            §

      ORDER FOLLOWING TELEPHONE SCHEDULING CONFERENCE
                HELD ON September 22, 2022 at 8:45 AM

       Appearances:                  Waived


       The following schedule shall govern the disposition of this case:

       Initial Disclosures due by:                     September 26, 2022
       New parties/class allegations by:               None
       Discovery to be completed by:                   March 13, 2023
       Dispositive motions due by:                     April 15, 2023
       Docket call to be held at 11:30 AM on:          July 3, 2023
       Estimated trial time: 4 hours                   Bench Trial


The following rulings were made:

   • Discovery may be extended by agreement of the parties without Court intervention.
     The dispositive motion deadline and docket call dates, however, may not be
     extended without leave of Court.

   • Attorney’s fee applications are handled on the papers of the parties after notice.
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    • Expedited responses are required on all pretrial motions save dispositive motions.

       It is so ORDERED.

       SIGNED on September 20, 2022, at Houston, Texas.


                                                 _______________________________
                                                 Kenneth M. Hoyt
                                                 United States District Judge


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